453 F.2d 748
    3 ERC 1647
    SHAW-HENDERSON, INC., a Corporation, Plaintiff-Appellant,v.R. J. SCHNEIDER, Regional Construction Grants ProgramDirector, Environmental Protection Agency, Region 5, WaterQuality Office, Chicago, Illinois, and City of Charlevoix,Michigan, Defendants-Appellees.
    No. 71-1475.
    United States Court of Appeals,Sixth Circuit.
    Dec. 21, 1971.
    
      Charles A. Boyle, Chicago, Ill., and Peter Paul Patrick, Cheboygan, Mich., for appellant.
      Steven L. Dykema, Grand Rapids, Mich., Mika, Meyers, Beckett &amp; Jones, Grand Rapids, Mich., John R. Michael, Charlevoix, Mich., on brief for appellee City of Charlevoix.
      James C. Hair, Jr., Department of Justice, Washington, D. C., L. Patrick Gray, III, Asst. Atty. Gen., Walter H. Fleischer, Atty., Department of Justice, Washington, D. C., John P. Milanowski, U. S. Atty., Grand Rapids, Mich., on brief, for appellee R. J. Schneider.
      Before WEICK, McCREE and KENT, Circuit Judges.
      PER CURIAM.
    
    
      1
      This is an appeal from the District Court's order dismissing the appellant's complaint for damages and for injunctive relief.
    
    
      2
      The appellant was one of several bidders on a contract let by the City of Charlevoix, Michigan, for the construction of a waste-water treatment plant.  The planning and construction was to be in part financed by a Federal Grant under the Federal Water Pollution Control Act. 33 U.S.C. Sec. 1151 et seq. The appellee Schneider was Construction Grants Program Director for the Regional Water Quality Office of the Environmental Protection Agency which made the grant.  The appellant sued to enjoin the construction of the plant in question and to obtain damages on the theory that under the provisions of the Act the successful bidder was not in fact the low bidder.  All of the issues presented have been adequately considered and resolved in the comprehensive opinion of District Judge Albert J. Engel. 335 F.Supp. 1203.
    
    
      3
      For the reasons stated by Judge Engel the decision of the District Court is affirmed.
    
    